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                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF KENTUCKY
                               SOUTHERN DIVISION AT PIKEVILLE

  JASON SMITH,                                      )
                                                    )
              Petitioner,                           )          Civil No. 7: 20-133-WOB
                                                    )
  V.                                                )
                                                    )
  UNITED STATES OF AMERICA,                         )                JUDGMENT
                                                    )
              Respondent.                           )

                                          *** *** *** ***

         Consistent with the Memorandum Opinion and Order entered this date, and pursuant to

Rule 58 of the Federal Rules of Civil Procedure, it is hereby ORDERED and ADJUDGED as

follows:

         1.        Petitioner Jason Smith’s petition for a writ of habeas corpus [R. 1] is DENIED

WITHOUT PREJUDICE;

         2.        This action is DISMISSED and STRICKEN from the Court’s active docket; and

         3.        This is a FINAL and APPEALABLE Judgment and there is no just cause for

delay.

         This the 2nd day of November, 2020.
